Case 1:20-cv-01791-JEB Document 5 Filed 07/02/20 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

ALL PETROLEUM-PRODUCT CARGO
ABOARD THE BELLA WITH
INTERNATIONAL MARITIME
ORGANIZATION NUMBER 9208124,

ALL PETROLEUM-PRODUCT CARGO
ABOARD THE BERING WITH
INTERNATIONAL MARITIME
ORGANIZATION NUMBER 9149225, Civil A. No. 20-1791
ALL PETROLEUM-PRODUCT CARGO
ABOARD THE PANDI WITH
INTERNATIONAL MARITIME
ORGANIZATION NUMBER 9105073,

--and--

ALL PETROLEUM-PRODUCT CARGO
ABOARD THE LUNA WITH
INTERNATIONAL MARITIME
ORGANIZATION NUMBER 9208100,

Defendants.

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WARRANT FOR ARREST JN REM

TO: THE ATTORNEY GENERAL OF THE UNITED STATES OR
HIS DULY AUTHORIZED REPRESENTATIVE:

WHEREAS, on or about July 1, 2020, the United States filed a Verified Complaint for
Forfeiture In Rem (the “Complaint”) in the United States District Court for the District of

Columbia, alleging that the above-captioned defendant properties, namely all petroleum-product
Case 1:20-cv-01791-JEB Document5 Filed 07/02/20 Page 2 of 4

cargo aboard: the Bella with International Maritime Organization (“IMO”) number 9208124
(“Defendant Property 1”), the Bering with IMO number 9149225 (“Defendant Property 2”), the
Pandi with IMO 9105073 (“Defendant Property 3”), and the Luna with IMO number 9208100
(‘Defendant Property 4’) (collectively, the “Defendant Properties”) are subject to seizure and
forfeiture to the United States;

WHEREAS, the Court, having reviewed the Motion for Issuance of Warrant of Arrest Jn
Rem and Supporting Memorandum of Law, and related Affidavit in Support, hereby finds, in
accordance with Rule G(3)(b)(ii) of the Supplemental Rules for Admiralty or Maritime Claims
and Asset Forfeiture Actions (“Supplemental Rules”), that there is probable cause to believe that
the Defendant Properties are foreign assets of the Islamic Revolutionary Guard Corps (‘IRGC’),
a designated foreign terrorist organization, which has engaged in planning and perpetrating federal
crimes of terrorism as defined in 18 U.S.C. § 2332b(g)(5) against the United States, citizens or
residents of the United States, or their property, or are foreign assets affording a the identified
subjects a source of influence over the IRGC;

WHEREAS, this Court has venue and jurisdiction over the Defendant Properties: (i) as
they are located in a foreign country or have been detained by a foreign authority, pursuant to 28
U.S.C. § 1355(b)(2); and/or (ii) as they are on the high seas, pursuant to 14 U.S.C. § 522(a) and
28 U.S.C. § 2461(b);

WHEREAS, Supplemental! Rule G(3)(b)(ii) provides that upon a finding of probable cause,
the Court must issue a warrant to arrest the property if, as in ‘the instant case, it is not in the
government’s possession, custody, or control and is not subject to a judicial restraining order; and

WHEREAS, Supplemental! Rule G(3)(c)(i) provides that the Warrant of Arrest Jn Rem must
Case 1:20-cv-01791-JEB Document5 Filed 07/02/20 Page 3 of 4

be delivered to a person or organization authorized to execute it, who may be: a marshal or any
other United States officer or employee; someone under contract with the United States; or
someone specially appointed by the court for that purpose;

YOU ARE, THEREFORE, HEREBY COMMANDED to arrest the Defendant Properties
as soon as practicable by transmitting a copy of this Warrant for Arrest Jn Rem to the appropriate
authorities for service on the custodian in whose possession, custody or control the property is
presently found;

YOU ARE FURTHER COMMANDED to seize the Defendant Properties as soon as
practicable and bring them into the sole jurisdiction of this Court;

YOU ARE FURTHER COMMANDED, promptly after execution of the arrest warrant, to

file the same in this Court with your return, identifying the individuals upon whom copies were

served and the manner employed.

Dated: July _Z. , 2020

 

 
Case 1:20-cv-01791-JEB Document 5 Filed 07/02/20 Page 4 of 4
